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9                                   UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF CALIFORNIA
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     U.S. EQUAL EMPLOYMENT OPPORTUNITY ) Case No.: 17-CV-01961-CAB-JMA
12   COMMISSION,                               )
                                               )
13
                                               )
                 Plaintiff,                    ) CONSENT DECREE;
14         v.                                  ) [PROPOSED] ORDER
                                               )
15   INSIDEUP, INC., and Does 1-10, inclusive, )
                                               )
16
                                               )
                 Defendants.                   )
17
                                               )
     _________________________________________ )
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            Plaintiff U.S. Equal Employment Opportunity Commission (“EEOC,” “Plaintiff,” or
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     “Commission”) and Defendant InsideUp, Inc. (“InsideUp” or “Defendant”) hereby stipulate and agree to
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     entry of this Consent Decree (the “Decree”) to resolve the Commission’s complaint against Defendant in
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     U.S. Equal Employment Opportunity Commission v. InsideUp, Inc., et al.; Case No. 1:17-CV-01961-
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     CAB-JMA (the “Action”). On September 27, 2017, Plaintiff filed this Action in the United States
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     District Court, Southern District of California, for violation of the Americans with Disabilities Act of
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     1990 (“ADA”), as amended by the ADA Amendments Act of 2008 (“ADAAA”). In that Action, the
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     EEOC alleged that Defendant discriminated against Charging Party Warren Price (“Charging Party” or
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     “Price”) on the basis of disability by failing to engage in the interactive process with him, denying him a
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1    reasonable accommodation, denying him privileges and benefits of employment, subjecting him to
2    adverse employment actions on the basis of his disability, and retaliating against him because he
3    engaged in a protected activity.
4                                                       I.
5                          PURPOSES AND SCOPE OF THE CONSENT DECREE
6    A.     The EEOC and Defendant (collectively, the “Parties”) agree that this Action should be fully and
7    completely resolved by entry of this Decree. The Decree is made and entered into by and between the
8    EEOC and InsideUp and shall be binding on and enforceable against InsideUp, as well as its parents,
9    subsidiaries, officers, directors, agents, successors and assigns.
10   B.     The Parties have entered into this Decree for the following purposes:
11          1.      To provide appropriate monetary and injunctive relief;
12          2.      To ensure Defendant’s employment practices comply with federal law;
13          3.      To ensure a work environment free from discrimination, especially as it relates to
14   disability discrimination;
15          4.      To ensure training for Defendant’s managers and employees with respect to the pertinent
16   laws regarding disability discrimination;
17          5.      To provide an appropriate and effective mechanism for handling reasonable
18   accommodation requests and complaints of disability discrimination and/or retaliation in the workplace;
19   and
20          6.      To avoid the expense and protracted costs incident to this litigation, to make the Charging
21   Party whole, and to at least compensate him for his lost pay.
22                                                      II.
23                                            RELEASE OF CLAIMS
24   A.     This Decree fully and completely resolves all issues, claims, and allegations raised by the EEOC
25   against Defendant in this Action.
26   B.     Nothing in this Decree shall be construed to limit or reduce Defendant’s obligation to comply
27   fully with the ADA/ADAAA, and/or any other federal employment statute.
28   C.     Nothing in this Decree shall be construed to preclude the EEOC from bringing suit to enforce




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1    this Decree in the event that any party fails to perform the promises and representations contained
2    herein.
3    D.        This Decree in no way affects the EEOC’s right to bring, process, investigate, or litigate other
4    charges that may be in existence or may later arise against Defendant in accordance with standard EEOC
5    procedures as this Decree only resolves the issues, claims, and allegations raised by the EEOC against
6    Defendant in this Action.
7                                                        III.
8                                                   JURISDICTION
9    A.        The Court has jurisdiction over the Parties and the subject matter of this Action. The Action
10   asserts claims that, if proven, would authorize the Court to grant the equitable relief set forth in this
11   Decree.
12   B.        The terms and provisions of this Decree are fair, reasonable, and just.
13   C.        This Decree conforms with the Federal Rules of Civil Procedure and the ADA/ADAAA and is
14   not in derogation of the rights or privileges of any person.
15   D.        The Court shall retain jurisdiction of this action during the duration of the Decree for the
16   purposes of entering all orders, judgments, and decrees that may be necessary to implement the relief
17   provided herein.
18                                                       IV.
19                             EFFECTIVE DATE AND DURATION OF DECREE
20   A.        The provisions and agreements contained herein are effective immediately upon the date which
21   this Decree is entered by the Court (the “Effective Date”).
22   B.        Except as otherwise provided herein, this Decree shall remain in effect for four (4) years after the
23   Effective Date.
24                                                       V.
25                                    MODIFICATION AND SEVERABILITY
26   A.        This Decree constitutes the complete understanding of the Parties with respect to the matters
27   contained herein. No waiver, modification, or amendment of any provision of this Decree will be
28   effective unless made in writing and signed by an authorized representative of each of the Parties.




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1    B.     If one or more provisions of the Decree are rendered unlawful or unenforceable, the Parties shall
2    make good faith efforts to agree upon appropriate amendments in order to effectuate the purposes of the
3    Decree. In any event, the remaining provisions will remain in full force and effect unless the purposes
4    of the Decree cannot, despite the Parties’ best efforts, be achieved.
5    C.     By mutual agreement of the Parties, this Decree may be amended or modified in the interests of
6    justice and fairness in order to effectuate the provisions of the Decree.
7                                                      VI.
8                               COMPLIANCE AND DISPUTE RESOLUTION
9    A.     The Parties expressly agree that if the EEOC has reason to believe that Defendant has failed to
10   comply with any provision of this Decree, the EEOC may bring an action before this Court to enforce
11   the Decree. Prior to initiating such action, the EEOC will notify Defendant and any legal counsel of
12   record, in writing, of the nature of the dispute. Defendant shall have twenty-one (21) days from the
13   written notice to attempt to resolve or cure the breach. The Parties may agree to extend this period upon
14   mutual consent.
15   B.     The Parties agree to cooperate with each other and use their best efforts to resolve any dispute
16   referenced in the EEOC notice.
17   C.     After thirty (30) days, inclusive of the twenty-one (21) days to resolve or cure the breach
18   referenced in Section VI.A, have passed from the written notice with no resolution or agreement to
19   extend the time, the EEOC may petition this Court for resolution of the dispute, seeking all available
20   relief, including an extension of the term of the Decree, the EEOC’s costs and any attorneys’ fees
21   incurred in securing compliance with the Decree, and/or any other relief the Court may deem
22   appropriate.
23   D.     In the event of exigent circumstances, the EEOC may petition the Court for resolution of the
24   dispute without adhering to the provisions described in Section VI.
25                                                     VII.
26                                            MONETARY RELIEF
27   A.     In settlement of this lawsuit, and in consideration of Defendant’s financial situation, Defendant
28   shall pay a total of $10,500.00 to Charging Party Warren Price in monetary relief to resolve this action,




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1    with $2,000.00 due within sixty (60) days of the Effective Date and the remainder due in equal monthly
2    payments of $531.25 over sixteen (16) months beginning ninety (90) days after the Effective Date. It is
3    acknowledged that the damages agreed to herein constitute a debt owed and collectible by the United
4    States.
5    B.        EEOC has designated that payments to Mr. Price will be non-wage compensation; thus, no tax
6    withholding shall be made. Defendant shall prepare and distribute 1099 tax reporting forms, if required
7    by law, and shall make any appropriate reports to the Internal Revenue Service and other tax authorities.
8    Defendant shall prepare and distribute a 1099 tax reporting form to Mr. Price. The 1099 forms will be
9    issued as in the ordinary course of business.
10   C.        Within three (3) business days of the issuance of each settlement check, Defendant shall submit a
11   copy of the check, tax reporting forms, and related correspondence to Anna Y. Park, Regional Attorney,
12   U.S. Equal Employment Opportunity Commission, Los Angeles District Office, 255 East Temple Street,
13   4th Floor, Los Angeles, CA, 90012.
14   D.        In the event a payment is not made in accordance with the designated schedule set forth in
15   Section VII.A or any extension granted by the EEOC, then the EEOC will issue a notice in which the
16   Defendant shall have twenty (20) days to cure the nonpayment. In the event the Defendant fails to cure
17   the breach within the twenty (20) days, then the remaining balance shall be accelerated and shall be paid
18   in full within twenty (20) days thereafter. This section is exempt from the dispute resolution section.
19   The EEOC will have the discretion to go into Court to enforce the Decree without additional notice to
20   enforce this acceleration clause.
21                                                    VIII.
22                                       GENERAL INJUNCTIVE RELIEF
23   A.        Anti-Discrimination
24             Defendant, its officers, agents, management (including all supervisory employees), successors,
25   assigns, and all those in active concert or participation with them, or any of them, are hereby enjoined
26   from engaging in any employment practice that discriminates against any individual in the terms and
27   conditions of employment on the basis of disability. Defendant is also specifically enjoined from
28   engaging in any practice that results in the denial of employment opportunities or subjects any




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1    individual to different terms and conditions of employment on the basis of disability.
2    B.      Retaliation
3            Defendant, its officers, agents, management (including all supervisory employees), successors,
4    assigns, and all those in active concert or participation with them, or any of them, are hereby enjoined
5    from implementing or permitting any action, policy, or practice that subjects any current or former
6    employee or applicant of Defendant or its successors, or either of them, to retaliation, because he or she
7    has in the past, or during the term of this Decree:
8            1.      Opposed any practice made unlawful under the ADA/ADAAA;
9            2.      Filed a charge of discrimination alleging such practice;
10           3.      Testified or participated in any manner in an internal or external investigation or
11   proceeding relating to this Action or relating to any claim of a violation of ADA/ADAAA;
12           4.      Was identified as a possible witness or claimant in this Action;
13           5.      Asserted any right under this Decree; and/or
14           6.      Sought and/or received any relief in accordance with this Decree.
15                                                         IX.
16                                       SPECIFIC INJUNCTIVE RELIEF
17   A.      Policies and Procedures
18           Defendant shall review its existing policies and procedures with regard to the ADA/ADAAA and
19   create and/or revise any such policies and procedures to ensure compliance with the ADA/ADAAA, this
20   Decree, and employment anti-discrimination laws. Specifically, Defendant will review and create/revise
21   any policies and procedures regarding the interactive process, seeking reasonable accommodations
22   related to disability, retaliation, and/or specific policies and procedures regarding disabled employees.
23   Such policies and procedures shall include:
24   1.      A clear and express prohibition against making any personnel decisions including, but not
25   limited to, hiring and firing, on the basis of disability;
26   2.      A clear explanation of prohibited discriminatory conduct on the basis of disability;
27   3.      An assurance that employees who make complaints of discrimination or who provide
28   information related to such complaints shall be protected against retaliation;




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1    4.     A clearly described accommodation process for employees or applicants who believe they
2    require a reasonable accommodation on the basis of disability;
3    5.     An accommodation process that provides a prompt, thorough, and effective interactive process
4    that includes direct communication with the requesting employee to determine the need for reasonable
5    accommodation, the available reasonable accommodations, and follow-up procedures to ensure that any
6    provided accommodation continues to be effective;
7    6.     A clearly described complaint process for employees or applicants who believe they have been
8    subjected to disability discrimination and/or retaliation that provides internal and external avenues for
9    complaints;
10   7.     A clearly described procedure for how Defendant’s staff will handle complaints of disability
11   discrimination and/or retaliation made by its employees;
12   8.     An assurance that Defendant will protect the confidentiality of any discrimination complaint to
13   the fullest extent possible from being disclosed;
14   9.     A complaint process that provides a prompt, thorough, and impartial investigation;
15   10.    An assurance that Defendant will take immediate and appropriate corrective action when it
16   determines that disability discrimination has occurred;
17   11.    A procedure for communicating with the complainant in writing regarding the status of the
18   complaint/investigation, results of the investigation, and if any remedial action was taken; and
19   12.    A requirement that any employee in a management, supervisory, and/or human resources
20   position who receives a reasonable accommodation request, whether formal or informal, written or
21   verbal, report such reasonable accommodation request to management within twenty-four (24) hours of
22   receiving said request.
23          Defendant shall hold its management, supervisors, and human resources personnel accountable
24   for failing to comply with Defendant’s policies and procedures regarding reasonable accommodation,
25   disability discrimination, and retaliation, including but not limited to documenting and investigating all
26   instances wherein Defendant’s management, supervisory, or human resources personnel may have failed
27   to adequately implement or enforce Defendant’s policies and procedures. Management, supervisory, or
28   human resources personnel who fail to follow the anti-discrimination and non-retaliation requirements




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1    of this Decree, the ADA/ADAAA, and Defendant’s internal policies and procedures shall be disciplined
2    up to and including termination
3           Within sixty (60) days of the Effective Date of this Decree and on a semi-annual basis thereafter,
4    Defendant shall ensure that it has distributed its policies and procedures to all employees. Within sixty
5    (60) days of the Effective Date of this Decree, Defendant shall provide to the EEOC a copy of its
6    Policies and Procedures, as revised. Within ninety (90) days of the Effective Date, Defendant shall
7    submit to the Commission a statement confirming distribution of its Policies and Procedures. For each
8    new managerial or non-managerial employee hired after the initial distribution of the Policy described
9    above, Defendant shall ensure that the new employee and/or manager receives its Policies and
10   Procedures within thirty (30) days of employment.
11          If any revisions are made to Defendant’s policies and procedures during the term of the Decree,
12   Defendant shall ensure that its revised policies and procedures are distributed to its employees when the
13   revised version is finalized. On a continuing basis, Defendant will submit any changes to the operative
14   policies and procedures to the EEOC within thirty (30) days of any revisions.
15          On an annual basis throughout the term of the Decree, Defendant shall submit to EEOC a
16   statement confirming distribution of the policies and procedures to any person hired after the initial
17   distribution but within the term of the Decree.
18   B.     Posting of Notice of Consent Decree and Settlement
19          Within thirty (30) days of the Effective Date and throughout the term of this Decree, Defendant
20   shall ensure that it has posted the Notice of Consent Decree and Settlement (attached to this decree as
21   Exhibit A) in a conspicuous place accessible to all employees. Within thirty (30) days of the Effective
22   Date, Defendant shall submit to the EEOC a statement confirming the posting of the Notice of Consent
23   Decree and Settlement.
24   C.     Training
25          Defendant agrees that EEOC training shall be conducted as follows:
26          1.      Within ninety (90) days of the Effective Date and annually thereafter Defendant shall
27   provide live and interactive training lasting one hour in duration to all employees. The training shall
28   cover the Policies and Procedures as well as federal anti-discrimination laws with a particular emphasis




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1    on the laws prohibiting employment discrimination on the basis of disability. All persons required to
2    attend such training shall verify their attendance in writing.
3           2.      Within ninety (90) days of the Effective Date and annually thereafter Defendant shall
4    provide an additional live training of at least three (3) hours in duration to the managers, permanent
5    supervisors, hiring officials, and human resources/compliance staff members covering the Policy and
6    Procedures and compliance with federal laws prohibiting retaliation and employment discrimination on
7    the basis of disability. In addition, training will be provided regarding the responsibility to both engage
8    in the interactive process and provide reasonable accommodations to individuals with disabilities.
9    Training will also include training as to resources that can be utilized to assist in providing
10   accommodation to individuals with disabilities (e.g., JAN). All persons required to attend such training
11   shall verify their attendance in writing.
12          3.      Within thirty (30) days of the hire or promotion date of any manager, permanent
13   supervisor, hiring official, or human resources/compliance staff member hired aft the last training but
14   within the term of the Decree, Defendant shall provide training of at least one hour duration covering its
15   Policies and Procedures and compliance with federal law prohibiting retaliation and employment
16   discrimination on the basis of disability. All persons required to attend such training shall verify their
17   attendance in writing.
18          4.      Defendant shall provide thirty (30) days written notice to the EEOC prior to the
19   occurrence of any training undertaken pursuant to the Decree, including the location of the training, date
20   and time of training, materials for the training, and person conducting the training. EEOC personnel
21   shall be permitted to attend and view the trainings.
22          5.      Within one hundred twenty (120) days of the Effective Date and annually thereafter
23   through the term of the Decree, Defendant shall produce to the EEOC documents verifying the
24   occurrence of all training session conducted as required under this Decree, including the written training
25   materials used, a description of the training provided, a list of the individuals who conducted the
26   training, and a list of the names and job titles of attendees at each training session.
27          Defendant shall bear all costs associated with training under this section.
28   ///




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1     D.     Record Keeping
2            Defendant shall establish a record-keeping procedure that provides for the centralized tracking of
3     requests for accommodations from its employees, disability discrimination complaints from its
4     employees, as well as the monitoring of such requests for accommodations and/or complaints, including
5     the identifies of the parties involved, the action taken in response to the request for accommodation
6     and/or complaint, and the nature of the request for accommodation and/or complaint. The records to be
7     maintained shall include all documents generated through the duration of the Decree in connection with
8     any request for accommodation, complaint, any investigation into any complaint, and any resolution of
9     any request for accommodation and/or complaint. Any and all medical records shall be maintained in a
10    separate file. Within thirty (30) days of request by the EEOC for records, Defendant shall produce such
11    records to the EEOC.
12    E.     Reporting
13           Defendant shall provide the following reports annually throughout the term of the Decree:
14    1.     All documents verifying the occurrence of all training sessions, including any attendance lists,
15    that took place during the previous twelve (12) months;
16    2.     All documents verifying the distribution of policies and procedures for all employees as required
17    under the Decree;
18    3.     A description of all requests for reasonable accommodation from its employees, including a copy
19    of any and all underlying documents received, submitted, distributed, and/or relied upon, since the
20    submission of the immediately preceding report hereunder. This description shall include the names of
21    each individual requesting an accommodation, the nature of the accommodation, the names of any
22    managerial personnel involved in the processing of the request for accommodation, all documents
23    provided to the requesting employee, all documents provided by the requesting employee to Defendant,
24    all relevant dates, a summary of the interactive process engaged in with the requesting employee, a brief
25    summary of how each request was resolved, and the identity of the InsideUp employee(s) who decided
26    whether or not to provide each reasonable accommodation, and if the reasonable accommodation request
27    was denied, all the reasons for the denial. In submitting a copy of any and all underlying documents
28    received, submitted, distributed, and/or relied upon with respect to any request for reasonable




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1     accommodation, any and all medical records should be kept in a separate file.
2     4.     A description of all complaints regarding disability discrimination and/or retaliation from
3     Defendant’s employees, including a copy of any and all underlying documents received, submitted
4     distributed, and/or relied upon, made since the submission of the immediately preceding report
5     hereunder. This description shall include the names of the individuals alleging disability discrimination,
6     all documents provided to the employee making the complaint, all documents provided by the employee
7     making the complaint to Defendant, the nature of the discrimination, the names of the alleged
8     perpetrators of disability discrimination, the dates of the alleged discriminatory actions, a brief summary
9     of how each complaint was resolved, and the identity of the InsideUp employee(s) who investigated
10    and/or resolved each complaint. In submitting a copy of any and all underlying documents received,
11    submitted, distributed, and/or relied upon with respect to any complaint of disability discrimination
12    and/or retaliation, any and all medical records should be kept in a separate file. If no results have been
13    reached as of the time of the report, the result shall be included in the next report; and
14    5.     A copy of all Policies and Procedures related to disability discrimination and/or retaliation that
15    have been in effect since the last annual report.
16    6.     Verification that the Notice of Consent Decree and Settlement has continued to be posted in a
17    conspicuous place accessible to all employees.
18                                                         X.
19                        COSTS OF ADMINISTRATION AND IMPLEMENTATION
20                                             OF CONSENT DECREE
21           InsideUp shall bear all costs associated with its administration and implementation of its
22    obligations under this Consent Decree.
23                                                         XI.
24                                       COSTS AND ATTORNEYS’ FEES
25           Each party shall bear its own costs of suit and attorneys’ fees.
26                                                         XII.
27                                       MISCELLANEOUS PROVISIONS
28    A.     During the term of this Decree, Defendant shall provide any potential successor-in-interest with a




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1                                           [PROPOSED] ORDER
2            GOOD CAUSE APPEARING:
3            The Court hereby finds that compliance with all provisions of the foregoing Decree is fair and
4     adequate. The Court hereby retains jurisdiction for the term of the foregoing Consent Decree, and the
5     provisions thereof are hereby approved.
6            IT IS SO ORDERED.
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8     Dated: February 16, 2018
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